               Case 3:09-cr-00321-KI    Document 82       Filed 11/12/10    Page 1 of 6




Christopher J. Schatz, OSB No. 915097
Assistant Federal Public Defender
101 SW Main Street, Suite 1700
Portland, OR 97204
Tel: (503) 326-2123
Fax: (503) 326-5524
Email: chris_schatz@fd.org

Ruben L. Iñiguez
Assistant Federal Public Defender
101 SW Main Street, Suite 1700
Portland, OR 97204
Tel: (503) 326-2123
Fax: (503) 326-5524
Email: ruben_iniguez@fd.org

Attorneys for Hock Chee Khoo



                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                       PORTLAND DIVISION

 UNITED STATES OF AMERICA,                          CR 09-321-KI

                                 Plaintiff,         SUPPLEMENTAL DECLARATION OF
                                                    COMPUTER FORENSICS EXPERT
           vs.                                      MICHAEL A. BEAN IN SUPPORT OF
                                                    MOTION TO EXCLUDE IMAGES OF
 HOCK CHEE KHOO, et al.,                            THE WU LAPTOP HARD-DRIVE.

                                 Defendants.

          I, Michael Bean, declare:

          1.      I am an expert in computer forensics, and I have been recognized as such. I have

testified as a computer forensics expert in both federal and state court.



PAGE 1.        SUPPLEMENTAL DECLARATION OF COMPUTER FORENSICS EXPERT MICHAEL A. BEAN IN
               SUPPORT OF MOTION TO EXCLUDE IMAGES OF THE WU LAPTOP HARD-DRIVE.
               Case 3:09-cr-00321-KI    Document 82        Filed 11/12/10     Page 2 of 6




          2.      I hereby refer to, and by such reference incorporate herein, all averments and

statements set forth in my declaration [Docket No. 36] heretofore filed in the instant matter on May

28, 2010.

          3.      On November 10, 2010, I was advised by Federal Pubic Defender Computer Data

Specialist Maija Wells that the Khoo defense team had learned that files named “Hoffman

200601.PST” and “Hoffman2005.PST”(or possibly “Hoffman200502.PST”) which contained email,

had been present on the Wu Laptop hard drive at the time Wu entered the United States on October

17, 2006.1 More specifically, I was advised that these files had been created for the specific purpose

of storing email messages exchanged between Wu and Lawrence “Drew” Hoffman during 2005

(Hoffman-2005.PST or Hoffman200502.PST) and the first six months of 2006 (Hoffman

200601.PST).

          4.      Based on this information, I conducted further analysis of the Forensic Tool Kit

(FTK) EnCase image of the Wu Laptop hard drive made by the FBI searching for all three .pst files

described in paragraph (3) above. The files on the hard drive go back in date to November of 1995.

User based content started appearing in 2005. There are numerous files with created or written dates

during the 2005 and 2006 time period.2 There is no indication of any systematic attempt on the part

of Wu, as the user of the Laptop, to delete Files created during 2005 or 2006; although, several of

the 2005 files are marked “old.”


          1
        In computing, the .pst file extension refers to an open proprietary file format that is used to
store copies of messages, calendar events, and other items within Microsoft software such as
Microsoft Outlook.
          2
          When data is entered into the computer to create a file, the electronic data constituting the
file is date stamped with a file-creation date. Every time the file is opened and new data is entered,
modifying the file, a file-written date is generated.
PAGE 2.        SUPPLEMENTAL DECLARATION OF COMPUTER FORENSICS EXPERT MICHAEL A. BEAN IN
               SUPPORT OF MOTION TO EXCLUDE IMAGES OF THE WU LAPTOP HARD-DRIVE.
               Case 3:09-cr-00321-KI      Document 82        Filed 11/12/10     Page 3 of 6




          5.      In the course of the review described in (4) above, I did make a very unusual

discovery. The FTK EnCase image of the Wu Laptop hard drive contains only one file that is

recorded as deleted and able to be recovered. This file is named “Ntuser.tmp” and it has a last

accessed date of October 21, 2006 (China time), approximately 15 days after the image was

purported to have been created by the FBI. This is also inconsistent with the date that the Acronis

Backup copy of the Wu hard drive was made, which was October 18, 2006 (China time). This is

unusual and surprising in that, during the course of normal computing, files (such as, for example,

temporary files) are routinely and automatically deleted without user activity. Consequently, as an

experienced forensic computer examiner I expect to find deleted files that are recoverable from

unallocated space on the hard drive. The absence of deleted files detectable by forensic software as

being recoverable leads me to believe with reasonable forensic certainty that, before the FBI imaged

the hard drive, the Wu Laptop hard drive had been altered.

          6.      As a result of the unusual and surprising discovery described in (5) above, I conducted

an analysis of the unallocated space of the FTK EnCase image of the Wu hard drive made which is

where deleted file content resides.3 The unallocated space contained what appeared to be deleted

data in some areas but it also contained large blocks of blank or empty space which is consistent with

specific targeted wiping or intentional defragmentation of the hard drive. Defragmentation of a hard

drive can easily be accomplished using a utility named “Defrag” which is supplied with the Windows

operating system. The file used to execute the “defrag” operation is named “Defrag.exe” and this



          3
         Unallocated space refers to that portion of a hard drive disk sector that is not fully used by
current allocated file data and which, consequently, may contain data from a previously deleted file
that was not overwritten in its entirety by current file data.
PAGE 3.        SUPPLEMENTAL DECLARATION OF COMPUTER FORENSICS EXPERT MICHAEL A. BEAN IN
               SUPPORT OF MOTION TO EXCLUDE IMAGES OF THE WU LAPTOP HARD-DRIVE.
               Case 3:09-cr-00321-KI      Document 82       Filed 11/12/10     Page 4 of 6




file is located in the “Windows\System32” directory present in the image made by the FBI of the Wu

Laptop hard drive.

          7.       Defragmentation of a hard drive is commonly used to optimize the speed of the

operating system. It also increases the speed in which the computer is able to render requested data

for view by the user of the computer. It is also used to remove fragmented content of deleted files.

The “Defrag” operation removes the Master File Table (MFT) records of deleted files that are no

longer recognized as occupying the reported storage locations on the drive. It also shifts active file

content of active non-deleted files from their current fragmented locations to contiguous locations

that are recognized as available for new content storage after the removal of the invalid MFT records.

          8.       Analysis of the dates and times associated with the file named “defrag.exe” located

in the FTK EnCase image of the Wu hard drive revealed a last accessed date of October 18, 2006,

at 11:44 a.m. (China Time) indicating that the defragmentation process was initiated on this date and

at this time. This date and time is later than the installation of the Acronis backup software (October

18, 2006, at 2:14 a.m. China time) installed by Mark Hansen while the computer was in the

possession of Mark Hansen. The installation of the Acronis software by Hansen in itself is an action

that would have overwritten deleted content in the unallocated space.

          9.       Notwithstanding the discovery described in (5) above, I was able to recover over

17,000 items that had been deleted. This was accomplished by locating deleted MFT records in the

unallocated space and then resolving the storage locations where the actual data was located which

are stored in the recovered MFT records.

          10.      One of the folders recovered is named “Outlook.” This folder contains a deleted file

named “Hoffman 200601”. Since the file has been deleted and the content of the unallocated space

PAGE 4.         SUPPLEMENTAL DECLARATION OF COMPUTER FORENSICS EXPERT MICHAEL A. BEAN IN
                SUPPORT OF MOTION TO EXCLUDE IMAGES OF THE WU LAPTOP HARD-DRIVE.
                Case 3:09-cr-00321-KI       Document 82       Filed 11/12/10   Page 5 of 6




has been shifted around during the defrag process, the file reports as corrupt when it is exported from

the image and an attempt to open it using Outlook is made.4 I was not able to locate the file named

“Hoffman2005.PST”. However, in my view it is reasonable to conclude that, given the discovery

of the “Hoffman 200601.PST” file shell confirming the information received by the Khoo defense

team, a similar file named “Hoffman2005.PST” or “Hoffman200502.PST” did exist on the laptop.

Unfortunately, this file was subsequently deleted and then completely overwritten either during the

defragmentation process or during the installation of the Acronis software by Hansen.

          11.       In a further attempt to recover the files named “Hoffman 200601.PST”,

“Hoffman2005.PST”, and/or “Hoffman200502.PST”, I conducted an analysis of the Acronis backup

copy of the hard drive that was created by Mark Hansen. Inspection of the unallocated space

contained in the Acronis Backup copy revealed no content at all. Since the unallocated content of

the Wu Laptop hard drive was not captured or properly preserved in the Acronis backup copy or the

FTK EnCase image, I have not been able to recover or detect the listed files.5

          12.       Given the state of the FTK EnCase Wu Laptop and Acronis backup copy images as

containing manipulated and spoliated data, and/or data introduced into the Wu Laptop hard drive

following its seizure by Hoffman on October 17, 2006, in my professional opinion as a forensic

computer examiner, neither the FTK EnCase Wu Laptop hard drive image nor the Acronis backup

copy image can be viewed as trustworthy repositories of data.




          4
              Outlook is the native program used to open this type of file.
          5
        There are 285 individual files that are reported as deleted/recoverable in the Acronis backup
copy. However, these files are not present in the FTK EnCase image of the Wu hard drive created
by the FBI.
PAGE 5.          SUPPLEMENTAL DECLARATION OF COMPUTER FORENSICS EXPERT MICHAEL A. BEAN IN
                 SUPPORT OF MOTION TO EXCLUDE IMAGES OF THE WU LAPTOP HARD-DRIVE.
            Case 3:09-cr-00321-KI       Document 82      Filed 11/12/10      Page 6 of 6




          I declare under perjury under the laws of the United States of America that the foregoing

statements are true and correct to the best of my knowledge and belief, and that this Declaration was

executed on November 12,2010, in Portland, Oregon.



                                                      Michael Bean




PAGE 6.      SUPPLEMENTAL DECLARATION OF COMPUTER FORENSICS EXPERT MICHAEL A. BEAN IN
             SUPPORT OF MOTION TO EXCLUDE IMAGES OF THE WU LAPTOP HARD-DRIVE.
